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     ATTACHMENT 3
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                                                     Case 1:12-cr-00098-RHB ECF No. 33-3 filed 12/03/15 PageID.202 Page 3 of 3
MUSKEGON CHRONICLE • SUNDAY, JULY 13, 2008                                                          Breaking news: w ww.mlive.com/chronicle                                                       Jobs • Business • SC


                                                                                                                 .... TACOS trom sc
Travelers                                                                                                        were seated.                       Ken Simons, who frequently           2000. After just one year Fierro

brace for                                                                                                           On a typical Tuesday, Fier-
                                                                                                                 ro's 16-person work crew can
                                                                                                                 seiVe up to 10,000 tacos, Fierro
                                                                                                                 said, because most customers
                                                                                                                                                    lunches at the Sherman loca-
                                                                                                                                                    tion with his Michigan Spring
                                                                                                                                                    Co. co-workers.
                                                                                                                                                       Born in J alisco, Mexico,
                                                                                                                                                                                         was ready to expand, and relo-
                                                                                                                                                                                         cated the business to 1427 W.
                                                                                                                                                                                         Sherman, where Brutus BBQ

canceled                                                                                                         order a half-dozen or more.
                                                                                                                 "Taco Thursdays," at the
                                                                                                                 Apple restaurant has proven
                                                                                                                                                    Fierro was 19 years old when
                                                                                                                                                    he came to the United States
                                                                                                                                                    and found work at a railroad
                                                                                                                                                                                         had previously been.
                                                                                                                                                                                            Since opening the second
                                                                                                                                                                                         restaurant, Fierro, 60, splits his

flights                                                                                                          even more successful, he said.
                                                                                                                    The     supervisory     crew
                                                                                                                 includes Fierro's wife Zulema,
                                                                                                                 and their three grown chil-
                                                                                                                                                    company. He met his wife in
                                                                                                                                                    Chicago and the'couple moved
                                                                                                                                                    to Muskegon in 1978.
                                                                                                                                                       The Fierros labored in local
                                                                                                                                                                                         days at both sites. Although it's
                                                                                                                                                                                         a hectic schedule - running
                                                                                                                                                                                         back and forth, cooking and
By Chris Kahn                                                                                                                                                                            managing staff at both loca-
ASSOCIATED PRESS                                                                                                 dren, Connie, Veronica and         factories for several years so
                                                                                                                 Elizabeth.                         they could purchase their own        tions - Fierro somehow finds
   PHOENIX - As Roger and                                                                                           It's not just Pablo's tacos     home. Later, he worked as a          the time to roam the dining
Pat Bate hustled to catch a                                                                                                                                                              areas and chat with customers.
                                                                                                                 that are popular with custom-      longtime restaurant cook at
plane home to Houston, they                                                           Photo • Associated Press                                      Muskegon's El Camino restau-
                                                                                                                 ers. The menu also includes                                             His words of appreciation ring
got the dreaded call that many
                                     Passengers wait in line at O'Hare International Airport in                  hearty portions of other tradi-    rant. Little by little, they saved   with sincerity and genuine
will receive from their airline
                                     Chicago in this April 2008 file photo. Airlines have canceled               tional Mexican fare including      towards Pablo's restaurant           gratefulness.
this year.
   There was a problem with          nearly 65,000 flights so far this year and more are expected.               burritos, enchiladas, tamales      dream.
                                                                                                                 and menudo. The newer res-            He finally realized that goal        "I had a dream of someday
the crew, the plane, something                                                                                                                                                           opening my own business,"
- the Continental employee                                                                                       taurant, which opened in May,      when he opened up a small
                                     will slash as much as 12 per-       Trippler said. Airlines "are            also boasts a liquor license.       restaurant on Broadway Ave-         said Fierro. "Thanks to every-
was not sure. The Bates needed       cent after the peak summer          the ones who've underpriced
to find another way home.                                                                                           "All the food is great," said    nue in Muskegon Heights in          body, my dream came true."
                                     travel season, and Continental      their product for the last two or
   "There were a lot of unhappy      Airlines Inc. will reduce about     three years," he said. "You can-
faces in line" at the ticket coun-   11 percent in seating capacity      not take people's money four
ter, Pat said. "If they told us to   starting in September.              and five and six months out,
come back the next morning,             Delta Air Lines Inc., North-     and then one month out say 'it's
we were not going to be easy to      west Airlines Corp. and US          changed."'
get along with."                     Airways Group Inc. said they           The capacity cuts also mean
   It is a call that millions of     are planning similar cuts of 13     that later this year airlines may
passengers received as airlines      percent, 9.5 percent and 8 per-     have less wiggle room to repo- '
canceled nearly 65,000 flights       cent, respectively, by the end of   sition passengers if there are
so far this year. That is almost     the year.                           unexpected cancellations.
as many as all of 2007, accord-         Airlines hope that by offer-         Kate Hanni, executive direc-
ing to the Bureau of Transpor-       ing fewer travel options they       tor of the Coalition for Airline
tation Statistics, and travelers     can boost fares and better deal     Passengers Rights, Health and
should be ready to be even           with soaring fuel costs that have   Safety inN apa, Calif., said she's
more flexible as airlines carve      overwhelmed the industry. But       advertising for more volunteers
chunks out of their schedules        airline observers say many pas-     to man a hot line this fall for
later this year.                     sengers who bought their tick-      stranded passengers.
   UAL Corp.'s United Airlines       ets months in advance are now           "We're getting 400 calls a
 said it will cut as many as 14      going to have to scramble to fit    day already," Hanni said. Her
 percent of available seats on       new flights into their plans.       hot line, 1-877-flyers-6, helps
 domestic flights by the end of         It is unfair, Minneapolis-        stranded travelers deal with
 the year. American Airlines          based airline expert Terry         the airlines.


~   liD from 6C
   Saylor's job is to take a lon-      "It really has to factor into     up already. When customers
ger view.                            your long-term strategy."           call any site, they 'Will hear
   "More of my time will be            When the dust settles, Izzy       Izzy in the intro.
spent on future direction and        expects to sort out its manu-          "In Texas, it would be, 'lzzy,
strategies going forward,' he        facturing footprint, tied less to
said.                                brand than to customer base         Belton, Texas,' or 'Izzy, Flor-
   They have plenty to do.           and specialization.                 ence, Alabama,' " Saylor said.
   For starters, the mercurial         The team is tapping its              That was an ea y fix, com-
rise in freight costs is chang-      employees for ideas.                pared to the challenge of
ing the equation for plant              "They're now a part of a         melding corporate cultures
locations.                           much bigger family," Masen-
   "The cost of outbound             thin said.                          across the country.
freight is now exceeding the            "We have to leverage each           "There's an awful lot to sort
cost of direct labor," Saylor        other better."                      out going forward," Masenthin
said.                                   One fuzzy issue is clearing      said.

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